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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 DR. KUSUMA NIO, et al.

                Plaintiffs,

                         v.
                                                     Civil Action No.17-00998-ESH-RMM
 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY, et al.,

                Defendants.



             DEFENDANTS’ NOTICE RE: SEPTEMBER 19, 2018, MINUTE ORDER

       Pursuant to the Court’s September 19, 2018 Minute Order, Defendants file this Notice

indicating their responses to Plaintiffs’ request for the following information:

   1. Defendants do not object to providing Plaintiffs an Addendum to the September 13, 2018

       Report, indicating (without providing the names or identities of these individuals) the

       total number of favorable and unfavorable MSSDs, and the total number of discharges.

   2. Defendants will also provide the total number of discharges that have not been revoked

       and will not be revoked, and intend to provide a date range of effective discharge dates

       corresponding generally (but not specifically) to those discharges.

   3. Defendants will provide this addendum to Plaintiffs and the Court by September 26,

       2018, at 12:00 p.m.

DATED: September 21, 2018                     Respectfully submitted,

                                              JOSEPH H. HUNT
                                              Assistant Attorney General
                                              Civil Division

                                              WILLIAM C. PEACHEY
                                              Director, Office of Immigration Litigation
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                              COLIN A. KISOR
                              Deputy Director

                              /s/ Elianis N. Perez
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                              /s/ C. Frederick Sheffield
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                              ATTORNEYS FOR DEFENDANTS




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